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FoR THE olsTRlcT ol= TENNEssEE L'LED 'N OPEN COURT

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uNiTEo sTATEs or AMERch * riME; 3533 ?"\
plaintiff, _ ,, lNlTrALs: ¢zfi.
v. * Crim. No. 02-20165-D
eEoFFREY l_. FELDMAN, *
Defendant. *

 

CONSENT PREL|M|NARY ORDER OF FORFE|TURE

 

ln indictment Number 02-20165-D, the United States sought forfeiture of specific
property of defendant Geof'frey L.. Feldman pursuant to 18 U.S.C. §1963. On August 9,
2005, the defendant entered a plea of guilty to a substantive violation of the RlCO statute,
18 U.S.C. §1962, as charged in Count 1 of the indictment The defendant also agreed to
forfeit to the United States the sum of five hundred thousand dollars ($500,000.00) in
satisfaction of his forfeiture liability as charged in the forfeiture provision of the indictment
According|y, it is ORDERED:

1. Based upon the defendants plea ofguilty as to Cou nt1 of indictment Number
02-20165-D, the United States is authorized, subject to the terms and conditions of this
order, to seize the following property belonging to defendant Geoffrey L. Feldman, and his
interest in it is hereby forfeited to the United States for disposition in accordance with the

law, subject to the provisions of 21 U.S.C. §853(n) and Rule 32.2 of the Federal Rules of

Criminal Procedure: . _
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`-'iti" time 55 and/or 32(b) FFtCrP on ' §

   
 

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The sum offive hundred thousand dollars ($500,000.00) in U.S.
funds, such forfeiture to be paid into the U.S. Marshai’s Seized
Asset Deposit Fund and shall be due and payable as foilows:
two hundred thousand dollars ($200,000.00) in U.S. fu nds to be
paid at the time of the defendants sentencing Thereafter, one
hundred thousand dollars ($100,000.00) in U.S. funds will be
paid annually on the same date as the defendants sentencing
2. Pursuant to 21 U.S.C. § 853(n)(1), the United States Marsha| shall publish at
least once a week for three successive weeks in a newspaper of general circulation in
Shelby County, Tennessee, notice of this order, notice of the United States’ intent to
dispose of the property in such manner as the Attorney General or his delegate may direct,
and notice that any person, other than the defendant having or claiming a legal interest in
any of the above-listed forfeited property must file a petition with the court within thirty (30)
days of the final publication of notice or of receipt of actual noticel whichever is earlier. This
notice shall state that the petition shall be for a hearing to adjudicate the validity of the
petitioner's alleged interest in the property, shall be signed by the petitioner under penalty
of perjury, and shall set forth the nature and extent of the petitioner's right, title or interest
in each of the forfeited properties and any additional facts supporting the petitioner's claim
and the relief sought. The United States lviarshal or his delegate may use the attached
Legal Notice.
The United States may also, to the extent practicab|e, provide direct written notice
to any person known to have alleged an interest in property that is the subject of this

Preliminary Order of Forfeiture, as a substitute for published notice as to those persons so

notified.

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3. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preiiminary Order of Forfeiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in the judgment

4. if no third party files a timely claim, this Order shall become the Finai Order
of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).

5. The United States shall have clear title to the Subject Property following the
Court's disposition of ali third-party interests, or, if none, following the expiration of the
period provided in 21 U.S.C. § 853(n)(2), which is incorporated by 18 U.S.C. § 982(b) and
28 U.S.C. § 2461(c), for the filing of third party petitions.

6. The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).

lT ls so oRoEREo this 9 day ongd.m 2005.

 

Un ted States District Judge

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APPROVED AND CONSENTED:

TERRELL L. l-lARRlS
United States Attorney

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(cHRlsToPHER E. coTTEN
Assistant United States Attorney

//JA

MicHAlEL xoel§nd/
Attorney for thel_§ed/

 

 

* ttorney for the Defendant

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|N THE UN|TED STATES D|STR|CT COURT
FOR THE D|STRiCT OF TENNESSEE
WESTERN D|V|S|ON

 

 

UN|TED STATES OF AlVlER|CA *
P|aintifi, *
v. * Crim. No. 02-20165-D
Geoffrey L. Feldman, *
Defendant. *
LEGAL NOT|CE
Take notice that on , the United States District Court

 

for the Western District of Tennessee, Western Division, entered a Preliminary Order of
Forfeiture ordering that all right, title and interest of the defendant Geoffrey i_. Feldman in
the following property be forfeited to the United States to be disposed of in accordance with

|aw:

The sum oft"ive hundred thousand dollars ($500,000.00) in U.S.
funds, such forfeiture to be paid into the U.S. lVlarshal’s Seized
Asset Deposit Fund and shall be due and payable as foilows:
two hundred thousand dollars ($200,000.00) in U.S. funds to be
paid at the time of the defendants sentencing Thereafter, one
hundred thousand dollars ($100,000.00) in U.S. funds will be
paid annually on the same date as the defendants sentencing

The United States intends to dispose of this property in such matter as the Attorney General
or his delegate may direct. Any person, other than the defendant, having or claiming a legal
interest in the above-listed forfeited property must file a petition with the Court within thirty

(30) days of the final publication of this notice or of receipt of actual notice, whichever is

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earlier. The petition shall be for a hearing to adjudicate the validity of the petitioner’s
alleged interest in the property, shall be signed by the petitioner under penalty of perjury,
and shall set forth the nature and extent of the petitioner's right, tit|e, or interest in each of
the forfeited properties and any additional facts supporting the petitioner's claim and relief

sought.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 595 in
case 2:02-CR-20165 Was distributed by faX, mail, or direct printing on
August 10, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

